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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )              CASE NO. 8:06CR116
                                           )
            Plaintiff,                     )
                                           )
            vs.                            )                   ORDER
                                           )
TERRANCE HOWARD,                           )
                                           )
            Defendant.                     )

      This matter is before the Court on the Court’s own motion.

      IT IS ORDERED:

      1.    The Defendant shall be released from the Douglas County Correctional

            Center on November 29, 2010, to his attorney, Joseph L. Howard, to begin

            his public law placement at CH, Inc., in Council Bluffs, Iowa on the same

            date; and

      2.    The Clerk is directed to deliver a copy of this order to the U.S. Marshal’s

            Office for this district.

      DATED this 29th day of November, 2010.

                                               BY THE COURT:


                                               s/Laurie Smith Camp
                                               United States District Judge
